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     r I r.;2_  JN THE UNITED STATES DISTRICT COURT
     \)J    UFOR THE EASTERN DISTRICT OF PENNSYLVANIA

DARYOUSH TAHA,                                            CIVIL ACTION
              Plaintiff,

              v.

BUCKS COUNTY PENNSYLVANIA,                               NO. 12-6867
BUCKS COUNTY CORRECTIONAL
FACILITY, and UNPUBLISH LLC,
                Defendants.

UNPUBLISH LLC
             Cross Defendant
BENSALEM TOWNSHIP
             Cross Claimant

              v.

BUCKS COUNTY CORRECTIONAL
FACILITY RECORDS/ RECORDS
CUSTODIAN EMPLOYEES JANE
AND/OR JOHN DOE #1-6, BUCKS
COUNTY PENNSYLVANIA, TERRANCE
P. MOORE, FRANK NOONAN and
WILLIAM F. PLANTIER
               Cross Defendants

                                         ORDER

       AND NOW, this 21st day of June, 2016, Defendants Mugshots.com, LLC and Unpublish

LLC d/b/a Mugshots.com, LLC, having failed to defend, answer, or otherwise plead to the

Amended Complaint duly served and delivered on April 14, 2014, and default having been duly

entered on June 6, 2016, upon consideration of Plaintiffs Motion for Default Judgment (ECF

No. 169) and following a hearing held June 21, 2016, IT IS HEREBY ORDERED:

   1. Default judgment is entered IN FAVOR OF Plaintiff and AGAINST Defendants

       Mugshots.com, LLC and Unpublish LLC d/b/a Mugshots.com, LLC;

   2. Plaintiffs request for a default judgment on damages is WITHDRAWN; and
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3. An injunction is hereby entered against Defendants Mugshots.com, LLC and Unpublish

   LLC d/b/a Mugshots.com, LLC, directing them to remove Plaintiffs criminal record

   history information from their websites.




                                                  WENDY BEETLESTONE, J.




                                                                       ENTERED




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